Case 2 04 cv OZSQl-BB|§Ltmp Document 106 Filed O€/SO/O§`__/Page 1 of 3 Page|D 113
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United States District Court " 9
Westem District of Tcnnessee g 9
Federal Building, Room 951
167 North Main Street
Mernphis, TN 38103
Re:

WiIliggham v. Worldwide Mortgage, Inc No 04-2391
Dear Judgc Donald:

We represent NovaStar Mortgage, Inc., in this action. It is respectfully requested that the

undersigned counsel be allowed to participate by telephone in the status conference that is
currently set for July 8, 2005, at 10 a.rn. in Courtroorn No 3

The Court’s consideration is very much appreciated

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Q/w_z-

Brucc E. Alexander

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ERN|CE BOU|E DONALD

   

GE alexander@wbsk.com
U.S. D|STRIGT JUD
cc: Certificate of Service (enclosed)
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EsSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

Page 3 of 3 Page|D 115

